             Case 3:18-cv-00691-CRS Document 6 Filed 11/01/18 Page 1 of 7 PageID #: 71

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     AO 440 (Rev. 12/09) Summons in a Civil Action


                                          UNITED STATES DISTRICT COURT
                                                                    for the
                                                          Westem District of Kentucky


                                                                       )
                                                                       )
                                                                       )
                                     v.                                )      Civil Action No.
                                                                       )
                                                                       )
                                 Defendant
                                                                       )


                                                       SUMMONS IN A CIVIL ACTION

     To: (Defendant 's name and address)               cord1~,--o          &yd       # ~l'g30 ~
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               A lawsuit has been filed against you.

              Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
     are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
     P. 12 (a)(2) _or (3) -you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
     the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
     whose name and address are:                                      D           -#'
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            If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
     You also must file your answer or motion with the court.



                                                                                 CLERK OF COURT


     Date:
             - - -- - - - - --
                                                                                            Signature of Clerk or Deputy Clerk
,,.           Case 3:18-cv-00691-CRS Document 6 Filed 11/01/18 Page 2 of 7 PageID #: 72


      AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

       Civil Action No.

                                                            PROOF OF SERVICE
                            (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ([))

                 This summons for (name of individual and title, if any)
      was received by me on (date)

                0 I personally served the summons on the individual at (place)
                                                                                          -------------------
                                                                                         0n   (date)                      ; or

                0 I left the summons at the individual ' s residence or usual place of abode with (name)
                                                                                                                       ----------
                                                                      ' a person of suitable age and discretion who resides there,
               -----------------
                on (date)                                ' and mailed a copy to the individual's last known address; or

                0 I served the summons on {name of individual)                                                                       , who is
                 designated by law to accept service of process on behalf of (name of organization)
                                                                                         on (date)                        ; or

                0 I returned the summons unexecuted because                                                                              ; or

                0 Other (specify):




                 My fees are$                            for travel and $                 for services, for a total of$          0.00


                 I declare under penalty of perjury that this information is true.



      Date:
                                                                                                 Server 's signature



                                                                                              Printed name and title




                                                                                                 Server 's address


      Additional information regarding attempted service, etc:
            Case 3:18-cv-00691-CRS Document 6 Filed 11/01/18 Page 3 of 7 PageID #: 73
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    AO 440 (Rev. 12/09) Summons in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                        for the
                                                             Western District of Kentucky


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                                    V.                                    )
                                                                          )
                                                                                    Civil Action No.       $ ,1 J;? - {_ V -        C:, 9 /   _C /2..5
Co ccec t CB-ce Sal <,rt-·,     Defendant
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                                                        SUMMONS IN A CIVIL ACTION

    To: (Def endant 's name and address)        Co , , ee.J- Cfi--re,_ _$ o \ u-f-i or >S
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              A lawsuit has been filed against you.

             Within 21 days after service of this summons on you (not count1ng the day you received it)- or 60 days if you
    are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
    P. 12 (a)(2) _or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
    the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
    whose name and address are:                     15:Lul'Trd      p J!..o(je__,r:5 ::,¢"-c:9/o "J/ O )
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           If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
    You also must file your answer or motion with the court.



                                                                                        CLERK OF COURT


    Date:
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                                                                                                   Signature of Clerk or Deputy Clerk
        Case 3:18-cv-00691-CRS Document 6 Filed 11/01/18 Page 4 of 7 PageID #: 74


AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ([))

           This summons for (name of individual and title, if any)
was received by me on (date)


          0 I personally served the summons on the individual at (place)
                                                                                  -------------------
                                                                                  on (date)                         ; or

          0 I left the summons at the individual's residence or usual place of abode with (name)
                                                               , a person of suitable age and discretion who resides there,
         -----------------
          on (date)                                ' and mailed a copy to the individual's last known address; or

          0 I served the summons on (name of individual)                                                                      , who is
           designated by law to accept service of process on behalf of (name oforganization)
                                                                                   on (date)                        ; or

          0 I returned the summons unexecuted because                                                                             ; or

          0 Other (sp ecify):




           My fees are$                            for travel and $                 for services, for a total of$          0.00


           I declare under penalty of perjury that this information is true.



Date:
                                                                                         Server's signature



                                                                                       Printed name and title




                                                                                          Server's address


Additional information regarding attempted service, etc:
                Case 3:18-cv-00691-CRS Document 6 Filed 11/01/18 Page 5 of 7 PageID #: 75

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        AO 440 (Rev. 12/09) Summons in a Civil Action


                                             UNITED STATES DISTRICT COURT
                                                                      for the
                                                            Westem District of Kentucky


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                                        V.                                )       Civil Action No.   J: f8 - CV - (c 9 /            - C/<..S
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                                                                          )
                                 CJDef endant


                                                         SUMMONS IN A CIVIL ACTION

        To: (Defendant 's name and address)
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                  A lawsuit has been filed against you.

                 Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
        are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
        P. 12 (a)(2) _or (3) -you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
        the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
        whose name and address are:         _ 1           J
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               If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
        You also must file your answer or motion with the court.



                                                                                     CLERK OF COURT


        Date:
                - - - - - - -- - -
                                                                                               Signature of Clerk or Deputy Clerk
                Case 3:18-cv-00691-CRS Document 6 Filed 11/01/18 Page 6 of 7 PageID #: 76
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        AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

         Civil Action No.

                                                              PROOF OF SERVICE
                              (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ([))

                   This summons for {name of individual and title, if any)
        was received by me on (date)


                  0 I personally served the summons on the individual at {place)
                                                                                            -------------------
                                                                                           on (date)                         ; or

                  0 I left the summons at the individual's residence or usual place of abode with (name)
                                                                        , a person of suitable age and discretion who resides there,
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                  on (date)                                , and mailed a copy to the individual' s last known address; or

                  0 I served the summons on {name of individual)                                                                       , who is
                   designated by law to accept service of process on behalf of (name oforganiza.tion)
                                                                                           on (date)                         ; or

                  0 I returned the summons unexecuted because                                                                               ; or

                  0 Other {specify):




                   My fees are$                            for travel and $                 for services, for a total of$           0 .00


                   I declare under penalty of perjury that this information is true.


        Date:
                                                                                                 Server's signature



                                                                                               Printed name and title




                                                                                                  Server 's address


        Additional information regarding attempted service, etc:
                                                              Case 3:18-cv-00691-CRS Document 6 Filed 11/01/18 Page 7 of 7 PageID #: 77

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